FILED

UNITED STATES DISTRICT COURT FOR THE

‘DEC 6 2016
EASTERN DISTRICT OF CALIFORNIA T
EASTERN Ostet . BT COS ONIA
UNITED STATES OF AMERICA, ) er oF
) Case No. 2:16cr201 JAM
Plaintiff, )
¥. )
7. . A ) ORDER FOR RELEASE OF
Verge Ortiyoes (eb reves ) PERSON IN CUSTODY
)
Defendant. )

 

TO: UNITED STATES MARSHAL:
This is to authorize and direct you to release, Frye 2vhvtes Cobyeros from custody subject
to the conditions as stated on the record and for the following reasons:
__ Release on Personal Recognizance
Bail Posted in the Sum of: $
Unsecured Appearance Bond
Secured Appearance Bond

(Other) Conditions as stated on the record.

X_ (Other) Defendant sentenced this date to time served.

Issued at Sacramento, CA_ on December 6, 2016 at 10:30 a.m.

 

By /s[

John A. Mendez
United States District Court Judge
